                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

SARAH PALIN, an individual,

       Plaintiff,                                      No. 17 Civ. 4853

       – against –                                     Hon. Jed S. Rakoff

THE NEW YORK TIMES COMPANY,                            ECF Case
A New York corporation,

       Defendants.



        BENCH MEMORANDUM REGARDING DEFENDANTS’ PROPOSED
      CHANGES TO INSTRUCTION NO. 17 REGARDING PUNITIVE DAMAGES

       At the February 7, 2022 Charging Conference, Defendants suggested certain changes to

the Court’s proposed jury instruction on punitive damages based on Morsette v. “The Final Call,”

309 A.D.2d 249, 254 (1st Dep’t 2003). Specifically, Defendants claim Plaintiff is only entitled to

punitive damages if she proves that the Defendants’ “sole motivation in publishing the challenged

statements was hostility toward and a desire to injure the plaintiff.” See Defendants’ Proposed

Revisions to Instruction No. 17 (provided at the Feb. 22nd Charging Conference). Defendants’

proposed revision improperly seeks to limit the grounds upon which Plaintiff can prove her

entitlement to punitive damages and flies in the face of well-established law.

       As recognized by the Second Circuit in DiBella v. Hopkins, 403 F.3d 102, 122 (2d Cir.

2005), “[u]nder New York law, punitive damages in a defamation case are justified “‘to punish a

person for outrageous conduct which is malicious, wanton, reckless, or in willful disregard for

another's rights.’” (quoting Prozeralik, 82 N.Y.2d at 479–80) (emphasis added); see also Celle v.

Filipino Reporter Enterprises Inc., 209 F.3d 163 (2d Cir. 2000) (“all of the relevant circumstances

surrounding the dispute” should be considered in establishing entitlement to punitive damages);
Herbet v. Lando, 441 U.S. 153, 164 n. 12 (1979) (“any competent evidence, either direct or

circumstantial, can be resorted to [to establish common law malice], and all the relevant

circumstances surrounding the transaction may be shown, provided they are not too remote,

including threats, prior or subsequent defamations, subsequent statements of the defendant,

circumstances indicating the existence of rivalry, [and] ill will, or hostility between the parties.”);

DiBella v. Hopkins, 403 F.3d 102, 122 (2d Cir. 2005) (entitlement to punitive damages “requires

hatred, ill will, spite, criminal mental state or that traditional required variety of common-law

malice”); Stern v. Cosby, 645 F.Supp.2d 258, 286 (S.D.N.Y. 2009) (“To be entitled to punitive

damages, a defamation plaintiff must prove that the defendant acted, toward the plaintiff, with

hatred, ill will, spite, criminal mental state or that traditionally required variety of common-law

malice.” (citations and quotation omitted)); Prozeralik v. Capital Cities Communications, Inc., 82

N.Y.2d 466, 479 (1993) (same); Marcus v. Bressler, 277 A.D.2d. 108, 716 N.Y.S.2d 395, 396

(2000) (“Acts of malice, apart from the instance of slander on which the action was brought, were

probative of whether or not plaintiff bore defendant common-law malice, which is required to

justify punitive damages”).

       The Court in DiBella explicitly noted that the New York Pattern Jury Instruction § 3:30 is

in accord with the standard for punitive damages under New York law. DiBella, 403 F.3d at 122

(“New York Pattern Jury Instruction §3:30, under which Judge Chin charged the jury, is in accord

with this standard”).1 The standard set forth in DiBella, the New York Pattern Jury Instruction,




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  The New York Pattern Jury Instruction related to punitive damages in defamation cases, Pattern
Jury Instruction 3:30, provides that “[p]unitive damages may be awarded to punish a defendant
who has acted maliciously and to discourage others from doing the same.” The instruction goes
on to explain that a “statement is made maliciously if it is made with deliberate intent to injure or
made out of hatred, ill will, or spite or made with willful, wanton or reckless disregard of another’s
rights.”


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and the cases cited above is far from the exceedingly narrow instruction that Defendants have

proposed.

       In short, Defendants’ repeated insertion of “sole” and “solely” into the proposed jury

instruction regarding punitive damages conflicts with controlling law. Accordingly, Defendants’

proposed revisions should be rejected.

Dated: February 8, 2022.                     /s/ Shane B. Vogt
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the foregoing Bench Memorandum Regarding Defendants’
Proposed Changes to Instruction No. 17 Regarding Punitive Damages was filed electronically on
the 8th day of February, 2022. Notice of this filing will be sent by operation of the Court’s
electronic filing system to counsel of record for all parties as indicated on the electronic filing
receipt. Parties and their counsel may access this filing through the Court’s system.

                                             /s/ Shane B. Vogt
                                             Attorney




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